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                       IN THE UNITED STATES DISTRICT COURT
                                                                                SUL     13 [ 10- L1 5
                      FOR THE SOUTHERN DISTRICT OF GEORGIA-
                                BRUNSWICK DIVISIO N


BILLY GUYTON, SR . ,

                      Petitioner ,                        CIVIL ACTION NO. : CV205-23 3
              V.

UNITED STATES OF AMERICA ,                                (Case No . : CR297-026 )

                      Respondent.


                           CERTIFICATION OF APPEALABILITY


       Pursuant to 28 U .S.C . § 2253(c), an appeal may not be taken in this matter unless the

Court issues a Certificate of Appealability . This certificate may issue only if Petitioner has

made a substantial showing of the denial of a constitutional right . If granted, the certificate

must indicate which specific issue or issues satisfy this showing . In accordance with the

foregoing, a Certificate of Appealability is hereby DENIED as Petitioner has not made a

substantial showing of the denial of a constitutional right .

       Petitioner's Motion for Appointment of Counsel to assist him on his appeal is also

DENIED .

       SO ORDERED , this day of , 2006 .




                                                   UNITED STATES DISTRICT JUDGE
